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 8                                    UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                      )   Case No. 2:11-cr-00166-MCE
11                                                  )
                    Plaintiff,                      )
12                                                  )
                                                    )
13 v.                                               )
                                                    )   STIPULATION AND ORDER
14                                                  )   CONTINUING DATE FOR JUDGEMENT
     SON HOANG,                                     )   AND SENTENCING
15                                                  )
                    Defendant.                      )
16                                                  )
     __________________________________             )
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            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
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     counsel, Todd Leras, Assistant United States Attorney, attorney for plaintiff and Kyle Knapp, attorney
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     for defendant, SON HOANG, that the current hearing date of February 28, 2013 be vacated and the
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     matter be re-set for March 28, 2013 at 9:00 am. It is respectfully asserted that additional time is needed
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     to fully address some issues detailed in the probation and to provide further mitigation evidence to
23
     probation.
24
     Dated: February 4, 2013                                      Respectfully submitted.
25
                                                                    /s/ Kyle R. Knapp
26                                                                Kyle R. Knapp
                                                                  Attorney for Defendant, Son Hoang
27
     Dated: February 4, 2013                                      Respectfully submitted.
28
                                                                    /s/ Todd Leras
                                                                  Todd Leras
                                                                  Assistant U.S. Attorney
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 1                                                            Attorney for Plaintiff

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 3                                                 ORDER

 4         GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties, the February 28,

 5 2013 hearing is vacated and the matter is re-set for judgement and sentencing on March 28, 2013 at

 6 9:00am.

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 8         IT IS SO ORDERED.

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11 Dated: February 13, 2013                           _______________________________________
                                                      MORRISON C. ENGLAND, JR.
12                                                    UNITED STATES DISTRICT JUDGE
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